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UNITED STATES DISTRICT COURT                     due resentencing because his codefendant,
SOUTHERN DISTRICT OF GEORGIA                     John R. Thompson, succeeded on appeal in
     SAVANNAH DIVISION                           challenging the Sentencing Guidelines loss
                                                 amount attributed to Thompson during
UNITED STATES OF AMERICA,                        Thompson's sentencing. ECF. No. 259 at 1.
Petitioner,                                         II. ANALYSIS

                       6:09-cr-68                    A motion under Rule 60 of the Federal
V.
                                                 Rules of Civil Procedure is the improper
BRIAN YALE STEPTOE,                              procedural vehicle to challenge Steptoe's
                                                 sentence in his criminal case. See United
Respondent.                                      States v. Whisby, 323 Fed. App'x 781, 782
                                                 (11th Cir. 2009); United States v. Zuluaga,
                  ORDER                          192 Fed. App'x 944, 945 (11th Cir. 2006);
    Before the Court is Defendant Brian          United States v. Mosavi, 138 F.3d 1365,
Yale Steptoe's Motion Pursuant to Rule           1366 (11th Cir. 1998). "Federal courts are
60(b), in which he also requests a               obligated[, however] to look beyond the
resentencing hearing. ECF No. 259.               label of a pro se inmate's motion to
     I. BACKGROUND                               determine if it is cognizable under a
                                                 different statutory framework."       United
    On May 11 2010, Steptoe pleaded guilty       States v. Stossel, 348 F.3d 1320, 1322 n. 2
to bank fraud. ECF Nos. 80, 151. The             (11th Cir. 2003). The Court, therefore,
Court sentenced him to fifty-four months         liberally construes Steptoe's motion as a §
imprisonment. ECF Nos. 147, 150.                 2255 motion. Steptoe previously filed a §
Consistent with the appeal waiver contained      2255 motion that this court dismissed as
in his pleas agreement, Steptoe did not          untimely. ECF Nos. 224, 232, 233. As
appeal.                                          such, Steptoe's present motion is an
    In June 2012, Steptoe filed a 28 U.S.C. §    unauthorized second or successive § 2255
2255 motion, which this Court dismissed as       motion. See United States v. Terrell, 141
untimely. ECF Nos. 224, 232, 233. Steptoe        Fed. App'x 849, 851-52 (11th Cir. 2005)
then filed a notice of appeal, ECF No. 235,      (finding second habeas petition to be
and this Court denied his motion for             successive where there was no pending §
certificate of appealability. ECF No. 236,       2255 motion in the district court).
237. Steptoe's renewed motion for                    Even assuming Steptoe's motion was
certificate of appealability is pending before   authorized procedurally, it is meritless
the Eleventh Circuit Court of Appeals.           substantively. After his codefendant,
Steptoe v. United Slates, Case No. 12-13765.     Thompson, succeeded on appeal in having
On October 24, 2012, Steptoe filed, in his       his sentence vacated and remanded for
criminal case, his current motion for relief     resentencing because the court "calculated
from judgment pursuant to Federal Rule of        [Thompson's] total loss amount. . . without
Civil Procedure 60(b), contending that he is
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proper factual bases," United States v.
Thompson, 463 Fed. App'x 887, 891 (11th
Cir. 2012), this Court, at the resentencing
hearing, found that the evidence supported
the same loss amount. Therefore, Steptoe
could gain no possible benefit from his
codefendant's resentencing.
   III. CONCLUSION
   Accordingly, Steptoe's motion, ECF No.
259, is DISMISSED.


This I day of November



B.'AVAT EDE FIELD, JUDGE
UNITED STAT] DISTRICT COURT
SOUTHERN DI RICT OF GEORGIA




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